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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )
                     Plaintiff,                    )
                                                   )      8:05CR333
       vs.                                         )
                                                   )      PRELIMINARY ORDER
FRANCISCO MARTINEZ and,                            )      OF FORFEITURE
TODD HANDY,                                        )
                                                   )
                     Defendants.                   )

       This matter is before the Court on the United States' Motion for Issuance of

Preliminary Order of Forfeiture and Memorandum Brief (Filing No. 39). The Court reviews

the record in this case and, being duly advised in the premises, finds as follows:

       1. The Defendants have entered into Plea Agreements, whereby they have agreed

to plead guilty to Counts I and V of said Indictment. Count I of said Indictment charges the

Defendants with conspiracy to distribute methamphetamine, a violation of 21 U.S.C. § 846.

Count V of said Indictment charges the Defendants with using $4106.00,$1520.00, and

$4,365 in United States currency to facilitate the commission of the conspiracy and

charges said personal properties are derived from proceeds obtained directly or indirectly

as a result of the commission of the conspiracy.

       2. By virtue of said plea of guilty, the Defendants forfeit their interest in the subject

properties, and the United States should be entitled to possession of said properties,

pursuant to 21 U.S.C. § 853.

       IT IS ORDERED:

       A. The United States' Motion for Issuance of Preliminary Order of Forfeiture (Filing

No. 39) is hereby sustained.
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       B. Based upon Count V of the Indictment and the Defendants’ pleas of guilty, the

United States Marshal for the District of Nebraska ("Marshal") is hereby authorized to seize

the following-described properties: $4,106.00, $1,520.00, and $4,365 in United States
currency

       C. The Defendants’ interest in said properties are hereby forfeited to the United

States of America for disposition in accordance with the law, subject to the provisions of

21 U.S.C. § 853(n)(1).

       D. The aforementioned forfeited properties are to be held by the Marshal in his

secure custody and control.

       E. Pursuant to 21 U.S.C. § 853(n)(1), the Marshal forthwith shall publish at least

once for three successive weeks in a newspaper of general circulation, in the county where

the subject properties are situated, notice of this Order, notice of the Marshal's intent to

dispose of the properties in such manner as the Attorney General may direct, and notice

that any person, other than the Defendants, having or claiming a legal interest in any of the

subject forfeited properties must file a Petition with the court within thirty (30) days of the

final publication of notice or of receipt of actual notice, whichever is earlier.

       F. Said published notice shall state the Petition referred to in Paragraph E., above,

shall be for a hearing to adjudicate the validity of the Petitioner's alleged interest in the

property, shall be signed by the Petitioner under penalty of perjury, and shall set forth the

nature and extent of the Petitioner's right, title or interest in the subject property and any

additional facts supporting the Petitioner's claim and the relief sought.




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       G. The United States may also, to the extent practicable, provide direct written

notice to any person known to have alleged an interest in the property subject to this Order

as a substitute for published notice as to those persons so notified.

       H. Upon adjudication of all third-party interests, this Court will enter a Final Order

of Forfeiture pursuant to 21 U.S.C. § 853(n), in which all interests will be addressed.

       DATED this 20th day of December, 2005.

                                                  BY THE COURT:


                                                  s/Laurie Smith Camp
                                                  United States District Judge




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